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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
                 v.                             :      No. 1:21-cr-00257-RDM
                                                :
RONNIE B. PRESLEY,                              :
                                                :
                                Defendant.      :

                                        JOINT STATUS REPORT

          The United States of America, by and through the United States Attorney for the District

of Columbia, and defendant Ronnie B. Presley, by and through counsel, hereby provide this

Status Report, as directed by the Court’s Minute Order of April 13, 2022.

          The parties have reached an impasse in plea negotiations and request that the Court

schedule a trial date in this matter.

                                         Respectfully submitted,

            MATTHEW M. GRAVES                         /s/Alfred Guillaume III
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                                                      Counsel for defendant Presley
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